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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 MARK S. MAYER,
 an individual,
                                                        Case No.: 6:20-cv-2283
        Plaintiff,
 v.

 HOLIDAY INN CLUB
 VACATIONS INCORPORATED,
 f/k/a ORANGE LAKE
 COUNTRY CLUB, INC.,
 a foreign for-profit corporation, and
 EXPERIAN INFORMATION
 SOLUTIONS, INC.,
 a foreign for-profit corporation,

       Defendants.
 _________________________________/

                                         COMPLAINT

        COMES NOW, Plaintiff, MARK S. MAYER (hereinafter, “Plaintiff”), by and through

 the undersigned counsel, and hereby sues Defendants, HOLIDAY INN CLUB VACATIONS

 INCORPORATED, f/k/a ORANGE LAKE COUNTRY CLUB, INC. (hereinafter, “HICV”)

 and EXPERIAN INFORMATION SOLUTIONS, INC. (hereinafter, “Experian”) (hereinafter

 collectively, “Defendants”). In support thereof, Plaintiff states:

                               PRELIMINARY STATEMENT

        1.      This is an action brought by an individual consumer for damages for HICV’s

 violations of the Fair Credit Reporting Act, 15 United States Code, Section 1681 et seq.

 (hereinafter, the “FCRA”) wherein HICV improperly credit-reported and subsequently verified

 objectively-inaccurate information related to a consumer loan account allegedly owed to HICV



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 on Plaintiff’s consumer credit report and in Plaintiff’s consumer credit file as maintained by

 Experian. More specifically, HICV inaccurately reported a derogatory tradeline account—

 with an alleged balance and past-due balance owed—and continued its reporting after Plaintiff

 advised HICV and Experian that Plaintiff did not owe a balance to HICV.

        2.       Furthermore, this is an action for damages for Experian’s violations of the

 FCRA wherein Experian failed to reasonably re-investigate and continued to incorrectly report

 the subject tradeline account furnished by HICV despite Plaintiff’s repeated disputes to

 Experian explaining that the transaction between Plaintiff and HICV was terminated and

 therefore Plaintiff did not owe a balance to HICV.

                            JURISDICTION, VENUE & PARTIES

        3.       Jurisdiction of this Court arises under 28 United States Code, Section 1331 as

 well as pursuant to the FCRA, 15 United States Code Section 1681, et seq.

        4.       Defendants are subject to the jurisdiction of this Court as HICV and Experian

 each regularly transact business in this District.

        5.       Venue is proper in this District the acts and transactions described herein occur

 in this District and HICV’s principal place of business is located in this District.

        6.       At all material times herein, Plaintiff is a natural person residing in Lorain

 County, Ohio.

        7.       At all material times herein, HIVC is a foreign for-profit corporation existing

 under the laws of the State of Delaware with its principal place of business located at 9271 S.

 John Young Parkway, Orlando, Florida 32819.

        8.       At all material times herein, Experian is a for-profit corporation existing under



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 the laws of the state of Ohio with its principal place of business located at 475 Anton

 Boulevard, Costa Mesa, California 92626.

                                FCRA STATUTORY STRUCTURE

           9.        Congress enacted the FCRA requiring consumer reporting agencies to adopt

 reasonable procedures for meeting the needs of commerce for consumer credit, personnel,

 insurance, and other information in a manner fair and equitable to the consumer, with regard

 to the confidentiality, accuracy, relevancy, and proper utilization of such information. See 15

 United States Code, Section 1681b.

           10.       Under the FCRA, whenever a consumer reporting agency prepares a consumer

 report, it shall follow reasonable procedures to assure maximum possible accuracy of the

 information concerning the individual about whom the report relates. Id. at § e(b) (emphasis

 added).

           11.       Under the FCRA, if a consumer disputes the completeness or accuracy of any

 item of information contained in a consumer’s file, and the consumer notifies the agency

 directly of such dispute, the agency shall reinvestigate—free of charge—and report the

 current status of the disputed information, or delete the item from before the end of the 30-

 day period beginning on the date on which the agency receives notice of the consumer’s

 dispute. Id. at § i(a).

           12.       Under the FCRA, when a consumer reporting agency conducts any

 reinvestigation with respect to disputed information in the file of any consumer, the consumer

 reporting agency shall review and consider all relevant information submitted by the consumer.

 Id. at § i(a)(4).



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         13.     Under the FCRA, if, after any reinvestigation of any information disputed by a

 consumer, an item of information is found to be inaccurate, incomplete, or cannot be verified,

 the consumer reporting agency shall promptly delete that item of information from the

 consumer’s file or modify that item of information, as appropriate, based on the results of the

 reinvestigation. Id. at § i(a)(5).

         14.     Under the FCRA, after a furnisher of information receives notification pursuant

 to Section 1681i(a)(2) of a dispute with regard to the completeness or accuracy of any

 information provided by a person to a consumer reporting agency, the furnisher shall: (A)

 conduct an investigation with respect to the disputed information; (B) review all relevant

 information provided by the consumer reporting agency pursuant to Section 1681i(a)(2) of

 this title; (C) report the results of the investigation to the consumer reporting agency; and

 (D) if the investigation finds that the information is incomplete or inaccurate, report those

 results to all other consumer reporting agencies to which the person furnished the

 information and that compile and maintain files on consumers on a nationwide basis. Id. at

 § s-2(b).

         15.     Under the FCRA, any person who willfully fails to comply with any

 requirement imposed under this subchapter with respect to any consumer is liable to that

 consumer: in an amount equal to the sum of any actual damages sustained by the consumer as

 a result of the failure; for statutory damages of not less than $100 and not more than $1,000;

 for such amount of punitive damages as the court may allow; and for the costs of the action

 together with reasonable attorneys’ fees. Id. at § n.

         16.     Under the FCRA, any person who is negligent in failing to comply with any



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 requirement imposed with respect to any consumer is liable to that consumer in an amount

 equal to the sum of any actual damages sustained by the consumer as a result of the failure

 and the costs of the action together with reasonable attorneys’ fees. Id. at § o.

                                GENERAL ALLEGATIONS

        17.     At all material times herein, Plaintiff is a “consumer” as defined by the FCRA,

 Section 1681a(c), because he is an individual and allegedly obligated to pay a debt.

        18.     At all material times herein, HICV, itself and through its subsidiaries, regularly

 services consumer credit and credit-reports information associated with the same in Orange

 County, Florida.

        19.     At all material times herein, HICV is a “person” who furnishes information to

 credit reporting agencies as provided in the FCRA and as defined by 15 United States Code,

 Section 1681s-2.

        20.     At all material times herein, HIVC reports certain derogatory information

 concerning an alleged consumer debt, including but not limited to, an alleged balance due from

 Plaintiff on a consumer loan related to a personal timeshare interest, referenced by account

 number ending -9828 (hereinafter, the “Alleged Debt” or the “Account”).

        21.     At all material times herein and as further described below, Plaintiff rescinded

 his consent to continue performing the terms of a written agreement entered into between

 Plaintiff and HICV as allowed by such written agreement.

        22.     At all material times herein, after Plaintiff elected to terminate his future

 obligations under the written agreement, Plaintiff did not owe a balance (or past-due balance)

 to HICV and therefore HICV could not possibly credit report an amount owed or past-due from



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 Plaintiff.

         23.     Notwithstanding, HICV inaccurately reported the tradeline account associated

 with the Alleged Debt (i.e., the Account) as “open” with an outstanding balance and as past-

 due resulting in Experian reporting the Account as a derogatory, negative, or adverse tradeline

 account in Plaintiff’s credit reports and credit file.

         24.     At all material times herein, HICV furnishes, reports, and publishes specific

 details of consumers alleged outstanding or delinquent debt accounts to compel or coerce the

 consumer to either satisfy the alleged balance, or suffer the consequences of delinquent

 accounts, such as higher interest rates on consumer loans or complete denial of credit.

         25.     At all material times herein, Experian is a “consumer reporting agency” as

 defined in 15 United States Code, Section 1681a(f) of the FCRA and regularly engages in the

 business of assembling, evaluating, and disseminating information concerning consumers for

 the purpose of furnishing consumer reports. Experian disburses such consumer reports to third

 parties under contract for monetary compensation.

         26.     At all material times herein, Defendants act themselves or through their agents,

 employees, officers, members, directors, successors, assigns, principals, trustees, sureties,

 subrogees, representatives, third-party vendors, and insurers.

         27.     All necessary conditions precedent to the filing of this action occurred, or

 Defendants waived or excused the same.

                                  FACTUAL ALLEGATIONS

                CREATION AND CANCELLEATION OF THE ACCOUNT

         28.     On or about September 15, 2014, Plaintiff entered into a written agreement with



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 HICV seeking to acquire a personal property timeshare membership in HICV’s Cape Caribe

 Resort located in Cape Canaveral, Florida (hereinafter, the “Agreement”). Please see attached

 a true and correct copy of the contractual agreement and enclosed terms and conditions labeled

 as Composite Exhibit “A.”

         29.    Pursuant to the Agreement, the transaction is not deemed closed until the deed

 is recorded in Plaintiff’s name. See Ex. A at pp. 4-5, ¶ 7(a).

         30.    Additionally, the transaction is not deemed closed until Plaintiff makes the first

 three (3) timely payments under the Agreement, at which time the deed should be recorded by

 HICV. Id. at ¶ 7(b).

         31.    Pursuant to the Agreement, HICV asserted the “ESTIMATED CLOSING

 DATE” as May 14, 2015. Id. at p. 2.

         32.    Plaintiff’s first payment under the Agreement was due by November 14, 2014.

 Id. at p. 3.

         33.    The Agreement also states that time is of the essence with respect to HICV’s

 performance, and upon HICV’s default of any term of the Agreement, Plaintiff may elect to

 rescind and terminate the Agreement. Id. at p. 6, ¶ 15.

         34.    Additionally, the Agreement includes a clause stating that upon Plaintiff’s

 default of any term of the Agreement, HICV shall retain all monies paid by Plaintiff until the

 date of default as liquidated damages. Id. at p. 5, ¶ 13.

         35.    On or about July 13, 2015, almost two (2) months after the estimated closing

 date, HICV finally recorded the corresponding deed associated with the Account.

         36.    Between November 2014 and June 2017, Plaintiff made timely payments to



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 HICV under in compliance with the Agreement.

        37.      In or around July 2017, Plaintiff stopped making payments to HICV on the

 Alleged Debt.

        38.      As such, in or around July 2017, Plaintiff elected to breach the Agreement and

 allowed HICV to retain all monies previously paid as its sole remedy available under the

 Agreement.

        39.      On or before January 15, 2019, Plaintiff retained Finn Law Group, P.A.

 (hereinafter, “FLG”) as his legal counsel with respect to the Alleged Debt.

        40.      On or about January 15, 2019, Plaintiff sent a letter to HICV via his legal

 counsel regarding the Agreement and the Alleged Debt (hereinafter, “First Notice and

 Rescission”). Please see attached a true and correct copy of said First Notice of Rescission

 sent via e-mail and U.S. mail labeled as Exhibit “B.”

        41.      On or about January 15, 2019, HICV received the First Notice of Rescission.

        42.      Specifically, the First Notice of Rescission disputed the validity of the sales

 transaction creating the Account as a result of fraudulent representations made by HICV’s

 employees and/or representatives at the time of the sale, advised that Plaintiff considered the

 transaction null and void, and advised that Plaintiff no longer intended to make any payments

 to HICV on the Account. See Ex. B.

        43.      As such, as of January 15, 2019, Plaintiff provided HICV explicit notice that he

 considered the Agreement null and void, that he elected to terminate the Agreement, and he

 allowed HICV to retain all money previously paid as provided by the Agreement.

        44.      To the extent that Plaintiff owed any balance to HICV as of January 15, 2019,



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 Plaintiff rescinded the Agreement and allowed HICV to retain any monies previously paid as

 liquidated damages pursuant to the Agreement drafted by HICV. See Ex. A at p. 5, ¶ 13.

        45.     On or about November 4, 2019, Plaintiff sent another letter to HICV via his

 legal counsel regarding the Agreement and the Alleged Debt (hereinafter, “Second Notice of

 Rescission”). Please see attached a true and correct copy of said Second Notice of Rescission

 sent via e-mail and U.S. mail labeled as Exhibit “C.”

        46.     On or about November 4, 2019, HICV received the Second Notice of

 Rescission.

        47.     The Second Notice of Rescission again disputed the validity of the sales

 transaction creating the Account as a result of fraudulent representations made by HICV’s

 employees and/or representatives at the time of the sale, again advised that Plaintiff considered

 the transaction null and void, again advised that Plaintiff no longer intended to make any

 payments to HICV on the Account, and explicitly quoted the clause from the Agreement which

 states that “the parties hereto shall be relieved from all obligations” if Plaintiff breaches

 any term of the Agreement. See Ex. C (emphasis in original) and Ex. A at p. 5, ¶ 13.

        48.     As such, as of November 4, 2019, Plaintiff twice provided HICV explicit notice

 that he considered the Agreement null and void, that he elected to terminate the Agreement,

 and he allowed HICV to retain all money previously paid as provided by the Agreement.

        49.     Notably, as of the date of this Complaint, Plaintiff has not received any

 communications from HICV requesting or demanding payment on the Alleged Debt in

 approximately three (3) years.

                 DEFENDANTS’ CREDIT REPORTING OF THE DEBT



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         50.     On or about August 17, 2019, Plaintiff obtained a copy of his consumer

  disclosure report from Experian.

         51.     Despite HICV knowing Plaintiff terminated the contract permitting HICV to

  retain any monies paid as its exclusive remedy, despite Plaintiff sending a letter to HICV

  advising that Plaintiff considered the Agreement null and void, and despite HICV knowing

  that it had not demanded or requested payment from Plaintiff on the Alleged Debt in over three

  (3) years, HICV reported the Account to Experian as a late, derogatory, or adverse account

  including a balance due, a balance past-due, and late payment information.

                                     PLAINTIFF’S DISPUTES

         52.     On or about January 8, 2020, Plaintiff sent a letter to Experian disputing

  Defendants’ credit reporting of the Account, advising that the Agreement was rescinded and

  terminated, and demanding that the tradeline Account associated with the Alleged Debt be

  updated to reflect the Account was closed as of July 2017 with a zero dollar ($0.00) balance

  due and past-due (hereinafter, “First Dispute”). Please see attached a true and correct copy of

  said First Dispute and enclosures labeled as Composite Exhibit “D.”

         53.     Experian received Plaintiff’s First Dispute.

         54.     Experian communicated Plaintiff’s First Dispute to HICV.

         55.     HICV received Plaintiff’s First Dispute from Experian.

         56.     On or about February 6, 2020, Experian sent a letter to Plaintiff in response to

  his First Dispute. Please see attached a true and correct copy of said letter labeled as Exhibit

  “E.”

         57.     Despite Plaintiff’s First Dispute explaining that the Agreement was rescinded



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  and terminated, Experian’s letter stated that HICV “has certified to Experian that the

  information is accurate” and HICV continued to report the Account on Plaintiff’s credit reports

  and in Plaintiff’s credit file was a derogatory, negative, and/or adverse tradeline account and

  with a balance due in excess of $11,000.00. See Ex. E at pp. 2 and 4.

         58.     On or about March 5, 2020, Plaintiff sent another letter to Experian again

  disputing Defendants’ credit reporting of the Account, again advising that the Agreement was

  rescinded and terminated, and again demanding that the tradeline Account associated with the

  Alleged Debt be updated to reflect the Account was closed as of July 2017 with a zero dollar

  ($0.00) balance due and past-due (hereinafter, “Second Dispute”). Please see attached a true

  and correct copy of said Second Dispute and enclosures labeled as Composite Exhibit “F.”

         59.     Experian received Plaintiff’s Second Dispute.

         60.     Experian communicated Plaintiff’s Second Dispute to HICV.

         61.     HICV received Plaintiff’s Second Dispute from Experian.

         62.     On or about April 7, 2020, Experian sent a letter to Plaintiff in response to his

  Second Dispute. Please see attached true and correct copies of relevant pages from said letter

  labeled as Exhibit “G.”

         63.     Despite Plaintiff’s Second Dispute again explaining that the Agreement was

  rescinded and terminated, Experian’s letter again stated that HICV “has certified to Experian

  that the information is accurate” and HICV continued to report the Account on Plaintiff’s credit

  reports and in Plaintiff’s credit file was a derogatory, negative, and/or adverse tradeline account

  and with a balance due in excess of $11,000.00. See Ex. G at pp. 2 and 5.

         64.     On or about April 23, 2020, Plaintiff sent another letter to Experian again



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  disputing Defendants’ credit reporting of the Account, again advising that the Agreement was

  rescinded and terminated, and again demanding that the tradeline Account associated with the

  Alleged Debt be updated to reflect the Account was closed as of July 2017 with a zero dollar

  ($0.00) balance due and past-due (hereinafter, “Third Dispute”). Please see attached a true and

  correct copy of said Third Dispute and enclosures labeled as Composite Exhibit “H.”

         65.     Experian received Plaintiff’s Third Dispute.

         66.     Experian communicated Plaintiff’s Third Dispute to HICV.

         67.     HICV received Plaintiff’s Third Dispute from Experian.

         68.     On or about May 27, 2020, Experian sent a letter to Plaintiff in response to his

  Third Dispute. Please see attached a true and correct copy of said letter labeled as Exhibit “I.”

         69.     Despite Plaintiff’s Third Dispute again explaining that the Agreement was

  rescinded and terminated, Experian’s letter again stated that HICV “has certified to Experian

  that the information is accurate” and HICV continued to report the Account on Plaintiff’s credit

  reports and in Plaintiff’s credit file was a derogatory, negative, and/or adverse tradeline account

  and with a balance due in excess of $11,000.00. See Ex. I at pp. 2 and 4.

         70.     As a result of Defendants’ conduct, actions, and inactions, Plaintiff suffered

  emotional distress, anxiety, inconvenience, frustration, annoyance, and confusion, believing

  that despite Plaintiff and HICV cancelling and terminating the Agreement, and despite

  Plaintiff’s repeated dispute efforts notifying Defendants of the same, Plaintiff must simply

  endure Defendants’ erroneous and inaccurate reporting of the Account, and he was continually

  evaluated for credit using consumer reports that inaccurately reported the Account as a

  negative, derogatory, and/or adverse tradeline account.



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         71.     Plaintiff dealt with the stress and anxiety of feeling hopeless and was deterred

  from credit applications, believing that he would be denied credit as a result of the erroneous

  and incorrect reporting of the Account and that credit applications would not be successful and

  only harm his credit score. In fact, Plaintiff suffered additional actual damages in the form of

  damage to his credit reputation.

         72.     Plaintiff retained Swift, Isringhaus & Dubbeld, P.A. as well as Finn Law Group,

  P.A. for the purpose of pursuing this matter against Defendants, and Plaintiff is obligated to

  pay his attorneys a reasonable fee for their services.

         73.     The FCRA, Sections 1681n or 1681o, or both, provide for the award of up to

  $1,000.00 statutory damages, actual damages, punitive damages, as well as an award of

  attorneys’ fees and costs to Plaintiff, should Plaintiff prevail in this matter against Defendants.

                                  COUNT ONE:
                         FAIR CREDIT REPORTING ACT –
              VIOLATION OF 15 UNITED STATES CODE, SECTION 1681s-2(b)

         Plaintiff re-alleges paragraphs one (1) through seventy-three (73) as if fully restated

  herein and further states as follows:

         74.     HICV is subject to, and violated the provisions of, 15 United States Code,

  Section 1681s-2(b), by willfully and/or negligently publishing or furnishing inaccurate trade-

  line information within Plaintiff’s credit reports, failing to fully and properly re-investigate

  Plaintiff’s disputes, failing to review all relevant information regarding the same, and failing

  to correctly report the Account on Plaintiff’s credit reports after re-investigating Plaintiff’s

  disputes.

         75.     As described above, despite receiving notice of Plaintiff’s disputes via



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  Experian, HICV willfully and/or negligently failed to request that Experian update the Account

  and reported erroneous and inaccurate credit information regarding the Account to Experian.

          76.     Specifically, after receiving notice of Plaintiff’s repeated disputes from

  Experian, HICV inaccurately reported the Account as late, past-due, and with a total balance

  due in excess of $11,000.00 which resulted in the Account being reported by Experian as a

  negative, derogatory, and/or adverse tradeline account harming Plaintiff’s credit score and

  credit reputation.

          77.     HICV reported and verified the above-referenced erroneous information despite

  Plaintiff never owing any money to HICV beyond what he paid HICV though 2017 pursuant

  to the terms of the Agreement.

          78.     HICV’s refusal to update the tradeline Account to reflect a zero dollar balance

  due or past due since July 2017 was intentionally, willfully, and knowingly done.

          79.     HICV’s re-investigations were not conducted in good faith.

          80.     HICV’s re-investigations were not conducted reasonably.

          81.     HICV’s re-investigations were not conducted using all information reasonably

  available to HICV.

          82.     As a result of HICV’s conduct, actions, and inactions, Plaintiff was not offered

  the best possible loan terms and interest rates and was deterred from making credit applications

  as he believed he would not be able to obtain favorable credit terms as a result of Defendants’

  derogatory and erroneous reporting of the Account, and Plaintiff did not wish to further damage

  his credit score with futile credit inquires.

          83.     Additionally, as a result of HICV’s conduct, actions, and inactions, Plaintiff



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  suffered emotional distress, anxiety, inconvenience, frustration, annoyance, fear, and

  confusion, believing that despite Plaintiff and HICV cancelling and terminating the

  Agreement, and despite Plaintiff’s repeated dispute efforts notifying Defendants of the same,

  Plaintiff must simply endure Defendants’ erroneous and inaccurate reporting of the Account,

  and he was continually evaluated for credit using consumer reports that inaccurately reported

  the Account as a negative, derogatory, and/or adverse tradeline account.

         84.     HICV’s conduct was a direct and proximate cause of, as well as a substantial

  factor in, causing the serious injuries, damages, and harm to Plaintiff as stated herein.

         85.     HICV’s actions in violation of 15 United States Code, Section 1681s-2(b),

  constitute negligent or willful noncompliance, or both, with the FCRA, and entitles Plaintiff to

  actual damages, statutory damages, and punitive damages, as well as attorneys’ fees and costs

  as enumerated in 15 United States Code, Sections 1681n or 1681o, or both.

                                 COUNT TWO:
                        FAIR CREDIT REPORTING ACT –
             VIOLATION OF 15 UNITED STATES CODE, SECTION 1681e(b)

         Plaintiff re-alleges paragraphs one (1) through seventy-three (73) as if fully restated

  herein and further states as follows:

         86.     Experian is subject to, and violated the provisions of, 15 United States Code,

  Section 1681e(b), by failing to establish or follow reasonable procedures to assure maximum

  possible accuracy in the preparation of the credit reports and credit files published and

  maintained concerning Plaintiff.

         87.     Experian willfully and/or negligently failed to establish or follow reasonable

  procedures to assure maximum possible accuracy in the preparation of Plaintiff’s credit reports



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  regarding the Account.

          88.     Specifically, despite Plaintiff never owing any money to HICV beyond what he

  paid through 2017, and despite Plaintiff repeatedly advising Experian of the same, Experian

  reported and purportedly verified the Account as belonging to Plaintiff and reported the

  Account as late, past-due, and with a total balance due in excess of $11,000.00 which resulted

  in the Account being reported by Experian as a negative, derogatory, and/or adverse tradeline

  account harming Plaintiff’s credit score and credit reputation.

          89.     Further, Experian willfully and/or negligently failed to establish or follow

  reasonable procedures to assure maximum possible accuracy of Plaintiff’s credit reports and

  credit files when re-investigating Plaintiff’s disputes of the above-referenced inaccuracies

  contained in her Experian credit reports and credit file.

          90.     For example, despite Plaintiff’s repeated disputes of the inaccuracies in his

  credit reports no less than three (3) times, Experian did not request any documents from HICV

  supporting HICV’s reporting of the Account and blatantly ignored the documents submitted

  by Plaintiff with his repeated disputes.

          91.     Such reporting of the Account is false and evidences Experian’s failure to

  establish or follow reasonable procedures to assure the maximum possible accuracy of

  Plaintiff’s credit reports and credit file.

          92.     As a result of Experian’s conduct, actions, and inactions, Plaintiff was not

  offered the best possible loan terms and interest rates and was deterred from making credit

  applications as he believed he would not be able to obtain favorable credit terms as a result of

  Defendants’ derogatory and erroneous reporting of the Account, and Plaintiff did not wish to



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  further damage his credit score with futile credit inquires.

         93.     Additionally, as a result of Experian’s conduct, actions, and inactions, Plaintiff

  suffered emotional distress, anxiety, inconvenience, frustration, annoyance, fear, and

  confusion, believing that despite Plaintiff and HICV cancelling and terminating the

  Agreement, and despite Plaintiff’s repeated dispute efforts notifying Defendants of the same,

  Plaintiff must simply endure Defendants’ erroneous and inaccurate reporting of the Account,

  and he was continually evaluated for credit using consumer reports that inaccurately reported

  the Account as a negative, derogatory, and/or adverse tradeline account.

         94.     Experian’s actions were a direct and proximate cause of, as well as a substantial

  factor in, the serious injuries, damages, and harm to Plaintiff as stated herein.

         95.     Experian’s violations of 15 United States Code Section 1681e(b), constitute

  negligent or willful noncompliance—or both—with the FCRA, and entitle Plaintiff to actual

  damages, statutory damages, punitive damages, as well as attorneys’ fees and costs as

  enumerated in 15 United States Code, Sections 1681n, or 1681o, or both.

                            COUNT THREE:
                     FAIR CREDIT REPORTING ACT –
   VIOLATION OF 15 UNITED STATES CODE, SECTIONS 1681i(a)(1), i(a)(4), and i(a)(5)

         Plaintiff re-alleges paragraphs one (1) through seventy-three (73) as if fully restated

  herein and further states as follows:

         96.     Experian is subject to, and violated the provisions of, 15 United States Code,

  Section 1681i(a)(1), 1681i(a)(4), and 1681i(a)(5) by: (1) failing to conduct reasonable re-

  investigations of Plaintiff’s disputes to determine whether the disputed information was

  inaccurate and by failing to subsequently update the inaccurate information in Plaintiff’s credit



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  reports and credit files; (2) failing to review and consider all relevant information received in

  Plaintiff’s disputes, including all relevant attachments; and (3) failing to update or delete any

  information that was the subject of Plaintiff’s disputes found to be inaccurate or that could not

  be verified.

            97.    Specifically, Experian willfully and/or negligently refused to properly re-

  investigate Plaintiff’s consumer reports upon receiving Plaintiff’s disputes, as described

  herein.

            98.    For example, rather than conduct its own, independent re-investigations,

  Experian solely relied on HICV’s blanket and parroted assertions that Plaintiff was responsible

  for the Account and that HICV was permitted to report the account with significant balances

  due and past-due.

            99.    Experian did not request any documents from HICV corroborating information

  furnished and verified by HICV to Experian regarding Plaintiff and the Account in response

  to any of Plaintiff’s disputes, and Experian wholly ignored the documents submitted by

  Plaintiff with his repeated disputes.

            100.   Despite Plaintiff repeatedly advising Experian the Agreement was cancelled

  and therefore Plaintiff did not owe any money on the Account, Experian continued to report

  the Account as late, past-due, and with a total balance due in excess of $11,000.00 which

  resulted in the Account being reported by Experian as a negative, derogatory, and/or adverse

  tradeline account harming Plaintiff’s credit score and credit reputation.

            101.   Overall, as of the date of this Complaint, Experian continues to inaccurately

  report the Account in Plaintiff’s Experian credit reports and credit file as with a balance due as



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  well as derogatory, late payment information.

           102.   As such, Experian’s re-investigations were not conducted in such a way as to

  assure whether information regarding Plaintiff and the Account was inaccurate and Experian

  failed to subsequently update and delete the inaccurate Account information in Plaintiff’s

  credit reports and credit files.

           103.   Such reporting is false and evidences Experian’s failure to conduct reasonable

  re-investigations of Plaintiff’s repeated disputes.

           104.   Experian’s reinvestigations of Plaintiff’s disputes were not conducted

  reasonably.

           105.   Experian’s reinvestigations merely copied and relied upon the inaccurate

  information conveyed by HICV.

           106.   Experian’s reinvestigations of Plaintiff’s disputes were not conducted in good

  faith.

           107.   Experian’s reinvestigation procedures are unreasonable.

           108.   Experian’s re-investigations of Plaintiff’s disputes were not conducted using all

  information reasonably available to Experian.

           109.   Experian’s reinvestigations were per se deficient by reason of these failures in

  Experian’s reinvestigations of Plaintiff’s disputes and the Account.

           110.   As a result of Experian’s conduct, actions, and inactions, Plaintiff was not

  offered the best possible loan terms and interest rates and was deterred from making credit

  applications as he believed he would not be able to obtain favorable credit terms as a result of

  Defendants’ derogatory and erroneous reporting of the Account, and Plaintiff did not wish to



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  further damage his credit score with futile credit inquires.

         111.    Additionally, as a result of Experian’s conduct, actions, and inactions, Plaintiff

  suffered emotional distress, anxiety, inconvenience, frustration, annoyance, fear, and

  confusion, believing that despite Plaintiff and HICV cancelling and terminating the

  Agreement, and despite Plaintiff’s repeated dispute efforts notifying Defendants of the same,

  Plaintiff must simply endure Defendants’ erroneous and inaccurate reporting of the Account,

  and he was continually evaluated for credit using consumer reports that inaccurately reported

  the Account as a negative, derogatory, and/or adverse tradeline account.

         112.    Experian’s actions in violation of 15 United States Code, Section 1681i(a)(1),

  constitute negligent or willful noncompliance—or both—with the FCRA, and entitle Plaintiff

  to actual damages, statutory damages, punitive, damages, as well as attorneys’ fees and costs

  enumerated in 15 United States Code, Sections 1681n or 1681o, or both.

                                       PRAYER FOR RELIEF

         WHEREFORE, as a direct and proximate result of Defendants’ conduct, Plaintiff

  respectfully requests an entry of:

                 a.      Judgment against HICV and Experian for maximum statutory damages

         for violations of the FCRA;

                 b.      Judgment enjoining HICV from engaging in further conduct in violation

         of the FCRA;

                 c.      Actual damages in an amount to be determined at trial;

                 d.      Compensatory damages in an amount to be determined at trial;

                 e.      Punitive damages in an amount to be determined at trial;



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                 f.      An award of attorney’s fees and costs; and

                 g.      Any other such relief the Court may deem proper.

                                  DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a trial by jury on all issues triable by right.

             SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

         Plaintiff hereby gives notice to Defendants and demands that Defendants and their

  affiliates safeguard all relevant evidence—paper, electronic documents, or data—pertaining to

  this litigation as required by law.

                                                Respectfully submitted,

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